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 DEFENDANT: Leonard L. Luton

 YOB: 1976

 ADDRESS (CITY/STATE): Brooklyn, NY

 COMPLAINT FILED?                X    Yes     _______ No

 If Yes, MAGISTRATE CASE NUMBER                19-mj-00025-NRN

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                           X   Yes    __ No
   If No, a new warrant is required

 OFFENSE(S):            Aiding and Abetting Mail Fraud, 18 U.S.C. §§ 1341 and 2

 LOCATION OF OFFENSE (COUNTY/STATE): Larimer County, CO

 PENALTY:        NMT 20 years in prison, NMT $250,000 fine, or twice the financial gain or
                 loss from the offense, whichever is greater, or both imprisonment and a
                 fine; NMT 3 years of supervised release; $100 special assessment

 AGENT: Kevin P. Hoyland

 AUTHORIZED BY: Martha A. Paluch
                Assistant U.S. Attorney

 ESTIMATED TIME OF TRIAL:

  _       five days or less       X    over five days            other

 THE GOVERNMENT

      X    will seek detention in this case             will not seek detention in this case

 The statutory presumption of detention is not applicable to this defendant.

 OCDETF CASE:                  Yes       X         No
